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                     THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF KENTUCKY
                               OWENSBORO DIVISION

   LWD PRP GROUP,                                        )
                                                         )
                 Plaintiff,                              )
                                                         )
                      v.                                 )   Civil Action No. 5:12-CV-00127-
                                                         )   JHM-HBB
   ACF INDUSTRIES LLC, et al.                            )
                                                         )
                 Defendants.
                                                         )

                                       ENTRY OF DEFAULT

          I, Vanessa L. Armstrong, Clerk of the Court of the United States District Court for the

   Western District of Kentucky, Owensboro Division, do hereby certify that Defendant Peoples

   Natural Gas Co. LLC has not filed an Answer or otherwise moved with respect to the Third

   Amended Complaint filed herein. The default of Defendant Peoples Natural Gas Co. LLC is

   hereby noted pursuant to Rule 55(a) of the Federal Rules of Civil Procedure.


   Dated: October ____, 2014


                                                       VANESSA L. ARMSTRONG, Clerk of the
                                                       Court


                                                       By:
                                                              Deputy Clerk
